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   9                     UNITED STATES DISTRICT COURT
  10                   CENTRAL DISTRICT OF CALIFORNIA
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  12   UNITED STATES OF AMERICA ex rel.       CASE NO. 2:16-cv-08697-MWF(SSx)
       BENJAMIN POEHLING,
  13                                          [Discovery Document: Referred to
  14                                          Magistrate Judge Suzanne H. Segal]
                     Plaintiff,
  15        v.                                [PROPOSED] ORDER
                                              REGARDING UNITED’S MOTION
  16   UNITEDHEALTH GROUP, INC. et al.,       TO COMPEL THE UNITED
  17                                          STATES TO PRODUCE
                     Defendants.              DOCUMENTS
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                                #:11078

   1        Pursuant to the motion to compel filed by United on November 9, 2018, and
   2 upon good cause appearing therefrom, it is HEREBY ORDERED that the United
   3 States shall:
   4        (1)      produce all documents being withheld solely on the basis of the
   5                 deliberative process privilege no later than ___________.
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   8 Date: __________________________                     __________________________
                                                          Hon. Suzanne H. Segal
   9                                                      United States Magistrate Judge
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